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               EXHIBIT E
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                      Case 3:17-cv-02026-JBA         Mail - Legal 1-5
                                                Document          information
                                                                         Filedfor customers
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                                                                                          Daniel Naus <daniel.naus@configair.com>



  Legal information for customers
  Henry Kurz <henry.kurz@hkc-group.de>                                                    Fri, Nov 3, 2017 at 2:19 PM
  To: Daniel Naus <daniel.naus@configair.com>
  Cc: Dung Nguyen <dung.nguyen@configair.com>, Nizwer Husain <nizwer.husain@configair.com>, Victoria Beinert
  <Victoria.Beinert@grprainer.com>

    Hi Daniel,
    first of all thanks for your reply.
    Monday and Tuesday won't work for me due to new work. As for my lawyer, Mrs. Victoria Beinert, it will be hard to find a
    time slot as it's even for myself hard to get a time slot with her. I copied her on this email. I would appreciate it a lot if we
    can meet on a time slot that is okay for Mrs Beinert. Thank you very much for your understanding. I really appreciate this.

    I have however to say that it was never your intention to negotiate as you thought that ConfigAir owns my IP by default.
    All offers of either a gentleman's agreement or issuing a license have been turned down by you so far. Trying now to
    make this looking different after you know that a judge will ask for what you tried to avoid this situation is a complete
    farse. So don't please try to pretend like you were open to solve this issue without a law suite. Anyways that is the past so
    let's focus on "now amd tomorrow". Today I got a call from the police about the record I issued. They wanted to know
    several things like the address of the office in Olomouce and why there are several dates in our operating agreement
    signature and why it was not notarized. The police forwarded the record today to the federal prosecutor. There are
    currently 2 claims running. One is criminal law and one is civil law, where I work with Mrs Beinert.

    Please don't call the Fort Lauderdale meeting a real try to negotiate. We were almost at an agreement, but you and Dung
    started to drink beer and you got back into bad habits of cornering me again. May I remind you that the meeting ended
    because I did not want to agree with the fact that I would become an unpaid silent partner if our agreement fails? You
    wanted to know why and I didn't answer. I told you many, many times to not get to this point. You were drunk and insisted
    on a stupid answer. I just didn't want to agree to something that would later on disable me to claim payments for my
    software, but nothing that we needed to get a decision at this evening for. And may I also remind you that I never ever
    agreed to your assumption? I denied to tell you why I don't want to agree to this point so you started to talk in my behalf,
    which has lead towards Dung leaving and ending the meeting. It was impossible to talk to you on a reasonable level at
    this point after you had beer. Same for Dung. It is unacceptable to have alcohol on a meeting of that importance. Nizwer
    and I didn't have any alcohol. You and Dung did. This was absolutely unacceptable.

    >> Please be advised that such actions would be viewed as violating your confidentiality agreement and could be
    interpreted as defamatory.
    I never signed a confidentiality agreement. All I signed was the operating agreement, which by the way was not notarized.
    I googled today after the police was wondering why we partners were signing on different dates. I will not go to the level
    saying that I didn't sign that even though I legally could. I did sign it. Let's stay to the truth. I want to still be able at the end
    of the day look into the mirror. However if you try to threaten me with the operating agreement you have to be clear that
    the operating agreement was not signed properly. A judge would have to determine whether it has substance and how
    much of it would do so.

    Let's not get there. I have no wish to destroy ConfigAir. If we issue a license, I would be stupid to destroy ConfigAir.
    ConfigAir will only be able to pay my license if it works profitable. You can call it a win-win. I call it a "you don't need to like
    me - I don't need to like you, but at the end of the day we profit from each others".

    I will for now not follow up on informing any client. As a gentleman I ask you to NOT try to transfer my IP into another
    software that would completely underlay your IP instead. I also ask you to get my developers - well your developers a job
    that is legal. I did talk to Sebastian Bouthillette. I also informed the FBI that ConfigAir and all of ConfigAir's clients are
    running on pirated software. Besides this I informed Marin Ukalovic and Duane Moore. I am open to issue all clients
    quickly a free license for the next 2 months as it was never my intention to take them down. I assume that at this point it is
    no longer possible to hide the fact from customers that there are issues between you and me. Your actions showed me
    that you see all of my software being your property and the one and only way to convince you that you are wrong is if
    customer systems are shut down by the police for violating copyright. I am very happy if we don't need to go there.

    Let's keep silent and get back to negotiation mode.
    Let's set up a meeting next week with Mrs. Beinert and the the anticipated result should be a license that allows ConfigAir
    for now to continue being the main provider for all customers.


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    Let's do that.
    Best regards,
    Henry
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